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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                    NO. 4:05CR00305-001 SWW

LAURA LEIGH JONES


                                       ORDER

       The above entitled cause came on for hearing on government’s

petition [docs #1112, #1116, #1117] to revoke the probation previously

granted this defendant in the United States District Court for the

Eastern District of Arkansas.         Based upon the statements of defendant,

exhibits received and the testimony of witnesses, the Court found that

defendant has violated the conditions of her probation without just

cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the probation previously

granted this defendant, be, and it is hereby, revoked.

       IT   IS   FURTHER   ORDERED   that   defendant   shall   serve   a   term   of

imprisonment of ELEVEN (11) MONTHS in the custody of the Bureau of

Prisons. The Court recommends that defendant participate in mental health

counseling during incarceration.

       There will be ONE (1) YEAR of supervised release to follow and shall

include the following special conditions:

                    1. Defendant shall serve the first SIX (6) MONTHS,
                    following release from imprisonment, in a residential
                    re-entry facility under the guidance and supervision of
                    the U. S. Probation Office.

                    2. Defendant shall be subject to drug testing and shall
                    participate, under the guidance and supervision of the
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                U. S. Probation Officer, in a substance abuse treatment
                program   which   may  include   testing,   out-patient
                counseling, and/or residential treatment. Further,
                defendant shall abstain from the use of alcohol
                throughout the course of any treatment.

                3. Defendant shall participate in mental health
                counseling under the guidance and supervision of the
                U.S. Probation Office.

                4. Defendant shall follow all standard conditions of
                supervised release.

     The defendant is remanded to the custody of the U. S. Marshal for

service of sentence imposed.

      IT IS SO ORDERED this 22ND day of January 2010.



                                         /s/Susan Webber Wright

                                         United States District Judge
